Case: 2:21-cv-00328-MHW-KAJ Doc #: 10 Filed: 11/10/21 Page: 1 of 1 PAGEID #: 159



                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION
Timothy Gales,

         Plaintiff,                                Case No. 2;21-cv-328

         V.                                        Judge Michael H. Watson

Thomas P. Charles, ef a/..                         Magistrate Judge Jolson

         Defendants.



                                      ORDER


         Plalntiff has not served Defendants with his Amended Complaint, which

was filed on March 31, 2021. See EOF No. 7. Magistrate Judge Jolson issued a

show cause order that ordered Plaintiff to effect service or show cause as to why

his case should not be dismissed for failure to prosecute. Order, EOF No. 8.

Plaintiff did not respond to that order. Magistrate Judge Jolson then

recommended the Court dismiss Plaintiff's claims for failure to prosecute. R&R,

ECF No. 9. Plaintiff did not timely object to that recommendation. Accordingly,

the Court ADOPTS the R&R and DISMISSES WITH PREJUDICE PlaintifTs

Complaint for failure to prosecute pursuant to Federal Rule of Civil Procedure

41(b).

         IT IS SO ORDERED.



                                 MrCHAEL H. WATSON,JUDGE
                                 UNITED STATES DISTRICT COURT
